                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

IN RE:                                          )         CASE NO. 13-33076 (Chapter 7)
                                                )
MELODY JUNE SHADLE,                             )         JUDGE MARY ANN WHIPPLE
                                                )
       Debtor.                                  )

                 MOTION TO DISMISS PURSUANT TO 11 U.S.C. §707(a)

       Debtor Melody June Shadle, by and through counsel, hereby moves the Court for an order

dismissing the above-referenced Chapter 7 case, and in support thereof, respectfully states as

follows:

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334,

11 U.S.C. §707(a) and Fed. R. Bankr. P. 1017(a), 2002 and 9014. This is a “core proceeding,” as

that term is defined in 28 U.S.C. §157(b)(2).

       2.      On July 24, 2013, Debtor filed her voluntary petition for relief under Chapter 7 of

Title 11 of the United States Code (the “Bankruptcy Code”). Debtor has filed all required schedules,

statements and other required documents. The 341/creditors’ meeting in this case was held and

concluded on September 18, 2013.

       3.      Debtor previously filed a Chapter 7 case (In re: Melody Shadle, Debtor; Case No. 05-

20948) on July 26, 2005. Debtor’s prior Chapter 7 case was discharged on November 2, 2005.

Debtor inadvertently filed the instant Chapter 7 case prior to the mandatory eight (8) year time period

required under Section 727 of the Bankruptcy Code.

       4.      Under these circumstances, Debtor requests that the Court dismiss the instant case

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for “cause” pursuant to Section 707(a) of the Bankruptcy Code. 11 U.S.C. §707(a).

       WHEREFORE, PREMISES CONSIDERED, Debtor Melody June Shadle respectfully

requests that this Court dismiss the above-referenced Chapter 7 case pursuant to 11 U.S.C. §707(a)

and grant her such other and further relief, at law or in equity, as the Court deems just and proper.

       DATE:           November 8, 2013

                                               RESPECTFULLY SUBMITTED:

                                               COLELLA & WEIR, P.L.L.


                                               /s/ Jeffrey H. Weir II
                                               Jeffrey H. Weir II (OBN 0067470)
                                               6055 Park Square Drive
                                               Lorain, Ohio 44053
                                               Telephone: (440) 988-9000
                                               Telecopy: (440) 988-9002
                                               E-mail: jhweir@cnklaw.com

                                               ATTORNEYS FOR DEBTOR



                     NOTICE PURSUANT TO LOCAL RULE 9013-1(a)

        All parties entitled to notice herein are hereby notified that they have fourteen (14) days to
respond to this Motion and/or request a hearing. If a response or request for hearing is not timely
filed with the Court and served upon Movant, Jeffrey H. Weir II, Esq., 6055 Park Square Drive,
Lorain, OH 44053, the Court may grant the relief requested without a hearing.

                                               /s/ Jeffrey H. Weir II
                                               Jeffrey H. Weir II




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                                 CERTIFICATE OF SERVICE

       I certify that on November 8, 2013, a true and correct copy of Motion to Dismiss was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

       Kerri N. Bruckner on behalf of JPMorgan Chase Bank at NOHBK@lsrlaw.com
       United States Trustee at (Registered address) @usdoj.gov
       Louis J. Yoppolo, Chapter 7 Trustee, at yoppolo-tr@snhslaw.com, pleach@snhslaw.com,
              lyoppolo@ecf.epiqsystems.com


                                              /s/ Jeffrey H. Weir II
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